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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-924V
                                         (Unpublished)

    ************************* *
                                *
    JACQUELINE ROBINSON,        *
                                *
                                *                         Special Master Katherine E. Oler
                    Petitioner, *
                                *                         Filed: June 3, 2020
    v.                          *
                                *
    SECRETARY OF HEALTH AND     *
    HUMAN SERVICES,             *                         Petitioner’s Motion for a Decision;
                                *                         Dismissal of Petition; Vaccine Act.
                                *
                    Respondent. *
                                *
    ************************* *

Renée J. Gentry, Vaccine Injury Clinic, George Washington Univ. Law School, Washington, DC
for Petitioner.
Mary E. Holmes, U.S. Dep’t of Justice, Washington, DC, for Respondent.

               DECISION DISMISSING CASE FOR INSUFFICIENT PROOF1

        On June 27, 2018, Jacqueline Robinson (“Petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program,2 alleging that she suffered from diffuse
polyarthritis following the Prevnar 13 vaccine she received on November 21, 2016. Pet., ECF No.
1. Petitioners filed a statement of completion on July 23, 2018. ECF No. 11

         On May 31, 2019, Respondent filed a Rule 4(c) Report contesting Petitioner’s right to
damages and requesting the dismissal of the claim. ECF No. 19. On August 19, 2019, Petitioner
filed a status report requesting that she be allowed to file an expert report. ECF No. 21. I granted
1
  Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the ruling will be available to anyone with access to the internet. As provided
by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the decision’s inclusion of certain
kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen days
within which to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes medical files or
similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine
Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
  The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine
Act” or “the Act”). Individual section references hereafter will be to § 300aa of the Act (but will omit that
statutory prefix).
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this request on August 20, 2019. See Non-PDF order of August 20, 2019. Petitioner asked for
several extensions of time to file this expert report. See ECF Nos. 25, 27 29, and 30. No report
was ever filed.

        Petitioner filed a motion to dismiss on June 2, 2020, indicating that Petitioner “has
determined that she will be unable to prove entitlement to compensation in the Vaccine Program
and to proceed further would unnecessarily expend the resources of the Court, the Respondent and
the Vaccine Program.” Pet’r’s Mot., ECF No. 31 at 2.

         To receive compensation under the Vaccine Program, a petitioner must prove either (1)
that she suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table –
corresponding to her vaccination, or (2) that she suffered an injury that was actually caused by a
vaccine. See §§ 13(a)(1)(A) and 11(c)(1). Moreover, under the Vaccine Act, a petitioner may not
receive a Vaccine Program award based solely on her claims alone. Rather, the petition must be
supported by either medical records or by the opinion of a competent medical expert. § 13(a)(1).
In this case, however, there is insufficient evidence in the record for Petitioner to meet her burden
of proof. Petitioner’s claim therefore cannot succeed and, in accordance with her motion, must be
dismissed. § 11(c)(1)(A).

      Thus, this case is DISMISSED for insufficient proof. The Clerk shall enter judgment
accordingly.

       IT IS SO ORDERED.
                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




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